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                                                                                    DISTRICT COURT
                                                                           EAST RN DIS RICT OF TEXAS

                       IN THE UNITED STATES DISTRICT COU T
                        FOR THE EASTERN DISTRICT OF TEXAS                          FEB 24 22
                               BEAUMONT DIVISION

 UNITED STATES OF AMERICA                      §                          BY
                                                                          DEPUTY
                                               §
 V.                                            §         No. l:20-CR-00005
                                               §         JUDGE HEARTFIELD
 TINA GILDER (9)                               §
                                               §
                                               §
                                 VERDICT OF THE JURY

 Count One: As to the offense charged in Count One of the First Superseding Indictment,

 conspiracy to possess with the intent to distribute a mixture or substance containing a

 detectable amount of cocaine, in violation of 21 U.S.C. §§ 846 and 841(a)(1), we, the

 Jury, find (check only one):




 Tina Gilder

                                           (Guilty)             (Not Guilty)



           If you have found the defendant, Tina Gilder, guilty of Count One of the First

 Superseding Indictment, then you must determine the quantity of cocaine attributable to

 the overall scope of the conspiracy. Indicate below your unanimous finding beyond a

 reasonable doubt of the quantity of cocaine, if any, applicable to the overall scope of the

 conspiracy (check the highest box that the Government has proven beyond a reasonable

 doubt).




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 Cocaine:


 M 5 kilograms or more of a mixture or substance containing a detectable amount of


 cocaine.


    500 grams or more of a mixture or substance containing a detectable amount of


 cocaine.


    Less than 500 grams of a mixture or substance containing a detectable amount of


 cocaine.




           If you have found defendant, Tina Gilder, guilty of Count One of the First

 Superseding Indictment, you must next determine the quantity of cocaine for which she is

 liable.

           Indicate below your unanimous finding beyond a reasonable doubt of the quantity

 of cocaine, if any, attributable to the defendant, Tina Gilder. The defendant is only

 accountable for the quantity of cocaine with which she was directly involved, and all

 quantities of cocaine within the scope of the conspiracy reasonably foreseeable to her

 (check the highest box that the Government has proven beyond a reasonable doubt).




 Cocaine:


       kilograms or more of a mixture or substance containing a detectable amount of


 cocaine.



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     500 grams or more of a mixture or substance containing a detectable amount of


 cocaine.


    Less than 500 grams of a mixture or substance containing a detectable amount of


 cocaine.




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